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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

    STEVEN STEWART,

          Plaintiff,                                                             ORDER
    v.
                                                                       Case No. 21-cv-558-jdp
    MELISSA M. BLOCK, et al.

          Defendants.


         Plaintiff Steven Stewart has submitted a certified trust fund account statement for the six-

month period preceding the filing of the complaint in support of the motion to proceed without

prepayment of the filing fee. Using information for the relevant time period from plaintiff’s trust

fund account statement, the court finds that plaintiff’s financial situation does not warrant a

determination of indigency. Accordingly, plaintiff must prepay the $402 fee 1 for commencing

this action.

                                                  ORDER

         IT IS ORDERED that plaintiff Steven Stewart’s petition for leave to proceed without

prepayment of the filing fee is DENIED. Plaintiff must pay the $402 fee no later than October

18, 2021. If plaintiff fails to do so, this action may be dismissed without prejudice to plaintiff

filing the case at a later date.

                        Entered this 27th day of September, 2021.

                                        BY THE COURT:

                                        /s/
                                        PETER OPPENEER
                                        Magistrate Judge




1
 Effective December 1, 2020, the total fee for filing a civil action is $402 (the $350 statutory fee plus the
$52 miscellaneous administrative fee).
